     Case 2:03-cr-00371-JAM-EFB Document 622 Filed 05/18/07 Page 1 of 2


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     yoloconflict@aol.com
5
     Attorney for Defendant Blake
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,          )
                                        )       No. 2:03-cr-00371-MCE
10           Plaintiff,                 )
                                        )       REQUEST FOR ORDER AND
11      v.                              )       ORDER ALLOWING
                                        )       INSPECTION OF PRE-SENTENCE
12    BRENT BLAKE                       )       REPORT.
                                        )
13                                      )
             Defendant,                 )
14   ___________________________________)
15     This Defendant is now set for sentencing on May 31, 2007 in this
16   court.   The United States Attorney has requested an upward
17   departure due, in part, to his assertion that Blake’s situation
18   should be treated similarly to previously sentenced co-defendant
19   Kenneth Rodgers.
20         In order to properly answer this request by the Government it
21   is necessary to review the sentencing factors in Rodgers case.       It
22   is therefore requested that the Probation Office be directed to
23   provide me with a copy of the Pre-sentence report in the case of
24   U.S. vs. Kenneth Rodgers, No. Cr S 03-371.
25         A copy of this request is being mailed to the U.S. Probation
26   Office, 501 I St., #2-500, Sacramento CA 95691.
27   ///
28                                         1
     Case 2:03-cr-00371-JAM-EFB Document 622 Filed 05/18/07 Page 2 of 2


1    Respectfully submitted.
2    May 14, 2007
3                                           /a/    J. Toney
4                                        J. Toney, Attorney for
5                                        Defendant Blake
6
7
8
9                                ORDER
10        Good cause appearing, The U.S. Probation Office is ordered to
11   provide a copy of its Pre-sentence report in U.S. v. Kenneth Rogers
12   No. 2:03-cr-00371-MCE to J. Toney, Attorney for Brent Blake.
13
     Dated: May 18, 2007
14
15                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
16
                                         UNITED STATES DISTRICT JUDGE
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